                            UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF OREGON

In re                                             Bankruptcy Case Nos.:

15005 NW Cornell LLC; and                         19-31883-dwh11 (Lead Case)
Vahan M. Dinihanian, Jr.,
                                                  19-31886-dwh11
                 Debtors.
                                                  Jointly Administered Under
                                                  Case No. 19-31883-dwh11

                                                  NOTICE OF HEARING ON CREDITOR
                                                  TASHA TEHERANI-AMI'S MOTION TO
                                                  DISMISS THE BANKRUPTCY CASES
                                                  FOR CAUSE

YOU ARE NOTIFIED THAT A HEARING, AT WHICH TESTIMONY MAY BE OFFERED

AND ACCEPTED, IF ADMISSIBLE, WILL BE HELD TO CONSIDER THE FOLLWING:

        •   Creditor Tasha Teherani-Ami's Motion to Dismiss the Bankruptcy Cases for Cause
            [Docket No. 158]

        DATE:            November 6, 2019

        TIME:            1:30 p.m.

        LOCATION: Courtroom 3, 1050 SW 6th Avenue # 700, Portland, OR 97204

                 Dated: October 16, 2019.

                                               TOMASI SALYER MARTIN

                                               By: /s/ Eleanor A. DuBay
                                                    Eleanor A. DuBay, OSB #073755
                                                    (503) 894-9900
                                                    edubay@tomasilegal.com
                                                    Of Attorneys for Tasha Teherani-Ami


Page 1 – NOTICE OF HEARING ON CREDITOR TASHA TEHERANI-AMI'S MOTION TO          TOMASI SALYER MARTIN
DISMISS THE BANKRUPTCY CASE FOR CAUSE                                       121 SW Morrison Street, Suite 1850
                                                                                 Portland, Oregon 97204
TEHERA-B1\00485025.000
                                                                                Telephone: (503) 894-9900
                                                                                Facsimile: (971) 544-7236


                         Case 19-62049-tmr11    Doc     Filed 10/16/19
                                  CERTIFICATE OF SERVICE

                 I hereby certify that on October 16, 2019 I served a copy of the foregoing

NOTICE OF HEARING ON CREDITOR TASHA TEHERANI-AMI'S MOTION TO

DISMISS THE BANKRUPTCY CASES FOR CAUSE by electronic means using ECF to the

parties listed below:

STEPHEN P ARNOT on behalf of U.S. Trustee US Trustee, Portland
steve.arnot@usdoj.gov
NICHOLAS J HENDERSON on behalf of Debtor Vahan M. Dinihanian, Jr. and Jointly
Administered Debtor Vahan M. Dinihanian, Jr.
nhenderson@portlaw.com,
tsexton@portlaw.com;mperry@portlaw.com;hendersonnr86571@notify.bestcase.com

ELAYNA Z MATTHEWS on behalf of Creditor Columbia State Bank
elayna@sglaw.com, ktate@sglaw.com

BRUCE H ORR on behalf of Interested Party Tasha Teherani-Ami, in her capacity as the trustee
of the Sonja Dinihanian GST Trust DTS 1/1/11
bho@wysekadish.com, tn@wysekadish.com;drw@wysekadish.com

ERICH M PAETSCH on behalf of Creditor Columbia State Bank
epaetsch@sglaw.com, ktate@sglaw.com

DOUGLAS R PAHL on behalf of Debtor 15005 NW Cornell LLC and Interested Party 15005
NW Cornell LLC
dpahl@perkinscoie.com, nlesage@perkinscoie.com;docketpor@perkinscoie.com

TROY SEXTON on behalf of Jointly Administered Debtor Vahan M. Dinihanian, Jr.
tsexton@portlaw.com, nhenderson@portlaw.com,mperry@portlaw.com,troy-sexton-
4772@ecf.pacerpro.com
DANIEL L STEINBERG on behalf of Creditor Cornell Rd LLC and Creditor Lillian Logan
Daniel.Steinberg@jordanramis.com, Litparalegal@jordanramis.com

US Trustee, Portland
USTPRegion18.PL.ECF@usdoj.gov

and by first-class mail to the parties listed below:

15005 NW Cornell LLC               Vahan M. Dinihanian              Alexander LLC
237 NW Skyline Blvd                237 NW Skyline Blvd.             Attn: Alexander Logan
Portland, OR 97210-1053            Portland, OR 97210-1053          19830 W Dixie Mt. Rd
                                                                    North Plains OR 97133


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                                                                                    Telephone: (503) 894-9900
                                                                                    Facsimile: (971) 544-7236


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Attorney General of the US      Bateman Seidel                 Beaverton Chamber of
U.S. Department of Justice      c/o Gregory Miner              Commerce
950 Pennsylvania Ave, NW        888 SW 5th Ave, Suite. 1250    412600 SW Cres St #160
Washington DC 20530-0001        Portland, OR 97204             Beaverton OR 97005

Christiana LLC                  Dan Logan                      Daniel Lorenz
Attn: Christiana Logan          19830 W Dixie Mt. Rd           521 SW Clay St.
19830 W Dixie Mt. Rd            North Plains OR 97133          Portland OR 97201
North Plains OR 97133

Gregory Miner                   Internal Revenue Service       Office of the Attorney General
888 SW 5th Ave, Suite 1250      Centralized Insolvency         Oregon Department of Justice
Portland OR 97204               Operations                     1162 Court St NE
                                PO Box 7346                    Salem OR 97301-4096
                                Philadelphia PA 1910-7346

Oregon Dept. of Revenue         Oregon Dept. of Consumer       Oregon Secretary of State
955 Center Street NE            & Business Services            Public Service Building
Salem OR 97309-5018             350 Winter St NE 2nd Floor     255 Capitol St NE, Suite 151
                                Salem OR 97301                 Salem OR 97310

Washington County               Washington County              Oregon State Treasury
Dept of HHS - Code              Assessment & Taxation          900 Court Street, Room 159
Enforcement                     155 N. First Ave               Salem OR 97301
155 N. First Ave, MS 5A         Hillsboro OR 97124
Hillsboro OR 97124

Marlin Financial                Thomas A. Bittner Schulte      Multnomah County
300 Fellowship Rd.              Anderson, et al.               Assessment, Recording &
Mount Laurel, NJ 08054          811 SW Naito Pkwy, Suite       Taxation
                                500                            PO Box 2716
                                Portland, OR 97204-3335        Portland, OR 97208-2716

Eagle Holdings LLC              Envisiontec, Inc.              Cornell Rd LLC
237 NW Skyline Blvd.            15162 S. Commerce Dr.          Attn: Lillian Logan
Portland, OR 97210-1053         Dearborn, MI 48120             19830 W Dixie Mt. Rd
                                                               North Plains OR 97133

DATED: October 16, 2019.                   TOMASI SALYER MARTIN


                                               By: /s/ Eleanor A. DuBay
                                                   Eleanor A. DuBay, OSB #073755
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                                                   edubay@tomasilegal.com
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